       Case 1:23-cr-00016-JHR               Document 177     Filed 11/12/24    Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                          v.                                  Case No. 23 Cr. 16 (JHR)

 SERGEY SHESTAKOV,

                               Defendant.



  DECLARATION OF RITA M. GLAVIN IN SUPPORT OF SERGEY SHESTAKOV’S
      MOTION TO TAKE THE RULE 15 DEPOSITION OF EVGENY FOKIN

       I, RITA M. GLAVIN, an attorney admitted to practice before this Court, hereby declare

pursuant to 28 U.S.C. § 1746 as follows:

       1.      I am principal of the law firm Glavin PLLC and represent Sergey Shestakov in the

above-captioned action.

       2.      I submit this declaration in support of Mr. Shestakov’s motion to take the deposition

of Evgeny Fokin pursuant to Federal Rule of Criminal Procedure 15.

       3.      I made several attempts, unsuccessfully, to contact Mr. Fokin during February and

March 2024.

       4.      Thereafter, I engaged in numerous discussions with Boies Schiller Flexner LLP,

counsel for Mr. Fokin’s employer, En+, concerning the possibility of Mr. Fokin’s testifying at a

Rule 15 deposition. Counsel for En+ informed me that if the Court authorizes such a deposition,

the company would make “best efforts” to make Mr. Fokin available. Counsel also informed me

that it is ultimately up to Mr. Fokin whether he will testify or not.

       5.      Mr. Fokin is a Russian foreign national residing in Russia. Accordingly, Mr. Fokin

would require a visa to enter the United States.


                                                   1
       Case 1:23-cr-00016-JHR          Document 177        Filed 11/12/24     Page 2 of 3




       6.      Linked hereto is a notice from the U.S. Embassy and Consulates in Russia

concerning visa services, available at https://ru.usembassy.gov/visas/.

       7.      Linked hereto is a notice of the U.S Department of State – Bureau of Consular

Affairs noting Russia is not a participant in the visa waiver program, available at

https://travel.state.gov/content/travel/en/us-visas/tourism-visit/visa-waiver-program.html.

       8.      Attached hereto as Exhibit 1 is a true and correct copy of the U.S. Customs and

Border Protection, TECS-Secondary Inspection Report Evgeny Fokin dated August 16, 2021,

bearing the Bates USAO_00000048-00000052.

       9.      Attached hereto as Exhibit 2 is a true and correct copy of a document produced to

the defense as 3505-005 consisting of notes of the government’s conversation with counsel for

En+.

       10.     Attached hereto as Exhibit 3 is a true and correct copy of a document produced to

the defense as 3624-001 consisting of call notes and reports concerning the partial imaging of Mr.

Fokin’s devices.

       11.     Attached hereto as Exhibit 4 is a true and correct portion of a document produced

to the defense as 3623-002: a June 24, 2022 email to the government from a case agent concerning

links between Arina Lazarou and En+/Rusal.

       12.     Attached hereto as Exhibit 5 is a true and correct copy of a document produced to

the defense as 3623-001 consisting of notes of a June 24, 2024 call with an agent recounting his

investigative work from 2022.

       13.     Attached hereto as Exhibit 6 is a true and correct copy of a U.S. Customs and

Border Protection “TECS – Person Encounter List,” Bates-stamped USAO_00021290 -

USAO_00021292.



                                                 2
       Case 1:23-cr-00016-JHR          Document 177        Filed 11/12/24      Page 3 of 3




       14.     Attached hereto as Exhibit 7 is a true and correct copy of surveillance reports

concerning Mr. Fokin’s meetings.

       15.     Attached hereto as Exhibit 8 is a true and correct excerpted portion of

USAO_00009680 consisting of Signal messages from Mr. Fokin to Charles McGonigal on

November 3, 2021.

       16.     Attached hereto as Exhibit 9 is a true and correct copy of a March 25, 2022

memorandum requesting Mr. Fokin’s visa revocation, Bates-stamped USAO_00020128 -

USAO_00020130.

       17.     Attached hereto as Exhibit 10 is a true and correct copy of a portion of U.S.

Department of State records, bearing the Bates USAO_00021259-00021275.

       18.     Attached hereto as Exhibit 11 is a true and correct copy of a document produced

to the defense as 3625-001 consisting of notes of a July 30, 2024 call with an agent present for the

partial imaging of Mr. Fokin’s devices.

       19.     Attached hereto as Exhibit 12 is a true and correct copy of an FBI 302 dated

February 9, 2022 with “Sakura,” who the defense reasonably believes is former En+ employee

Sakura Amend, Bates-stamped USAO_000021302 - USAO_000021306.

       20.     Attached hereto as Exhibit 13 is a true and correct copy of handwritten notes dated

July 17, 2024, bearing the Bates USAO_000021307 - USAO_000021309.




Dated: New York, New York                                            /s/ Rita M. Glavin
       November 12, 2024                                             Rita M. Glavin




                                                 3
